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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA Case: 1:24-cr-00727

Assigned To : Kollar-Kotelly, Colleen
. Assign. Date : 12/10/2021
EVAN NEUMANN, : Description: INDICTMENT (B)

Vv.

Defendant.
ORDER
In light of the government’s Motion to Quash, and the entire record herein, this Court
grants the government’s Motion, and the March 23, 2021, arrest warrant issued for defendant
Evan Neumann in this matter is hereby quashed.
= Zia M. Faruqui
eS 2021.12.10 16:38:16

Date: -05'00'

 

ZIA M. FARUQUI
UNITED STATES MAGISTRATE JUDGE
